  Case: 1:17-md-02804-DAP Doc #: 5363 Filed: 03/18/24 1 of 6. PageID #: 633160




                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 IN RE: NATIONAL PRESCRIPTION                                      MDL NO. 2804
 OPIATE LITIGATION
                                                                Case No. 17-MD-2804
 THIS DOCUMENT RELATES TO:
                                                              Judge Dan Aaron Polster
 City of Rochester v. Purdue Pharma, L.P., No. 19-
 op-45853 (Track 12)

 Lincoln County v. Richard S. Sackler, M.D., No.
 20-op-45069 (Track 13)

 City of Independence, Missouri v. Williams, No. 19-
 op-45371 (Track 14)

 County of Webb, Texas v. Purdue Pharma, L.P., No.
 18-op-45175 (Track 15)


                      JOINT STIPULATION AND [PROPOSED] ORDER

        Defendants UnitedHealth Group Incorporated; Optum, Inc.; OptumInsight, Inc.;

OptumInsight Life Sciences, Inc.; OptumRx Discount Card Services, LLC; Optum Perks, LLC;

OptumHealth Care Solutions, LLC; OptumHealth Holdings, LLC; and Optum Health Networks, Inc.

(the “Optum Defendants”) intend to move to dismiss the Amended Complaints in Tracks 12–15 on
                                   1
jurisdictional and other grounds.

        Plaintiffs City of Rochester, New York; Lincoln County, Missouri; City of Independence,

Missouri; and County of Webb, Texas have requested that the Optum Defendants respond to

discovery requests in Tracks 12–15. The Optum Defendants have not done so to preserve all Rule 12




1 Seven of those Defendants—OptumInsight, Inc.; OptumInsight Life Sciences, Inc.; OptumRx
Discount Card Services, LLC; Optum Perks, LLC; OptumHealth Care Solutions, LLC; OptumHealth
Holdings, LLC; and Optum Health Networks, Inc.—were not party to any of the four PBM
Bellwether tracks before the Court’s February 20, 2024 Order on Plaintiffs’ motion for leave to amend.
  Case: 1:17-md-02804-DAP Doc #: 5363 Filed: 03/18/24 2 of 6. PageID #: 633161




and other defenses available to them, including defenses for lack of personal jurisdiction.

       To preserve the Optum Defendants’ jurisdictional and other defenses, Plaintiffs and the

Optum Defendants stipulate as follows:

       •       Plaintiffs and the PEC agree that the Optum Defendants do not waive any

jurisdictional or other defenses in any opioid litigation in this MDL by participating in discovery in

the MDL or engaging in any other activities related to the MDL.

       •       Plaintiffs and the PEC agree that they will not argue that the Optum Defendants have

waived any jurisdictional or other defenses in any opioid litigation in this MDL by participating in

discovery in the MDL or engaging in any other activities related to the MDL.

       Subject to the Court’s adoption of this stipulation on the docket confirming that the Optum

Defendants preserve all Rule 12 and other defenses available to them, including as to the Court’s

jurisdiction, the Optum Defendants agree to do the following by March 21, 2024:

       1.      Serve objections and responses to Plaintiffs’ December 29, 2023 “Combined

Discovery Requests” (1st Set),

       2.      Serve objections and responses to Plaintiffs’ February 6, 2024 “National Data

Requests,”

       3.      Serve objections and responses to Plaintiffs’ February 6, 2024 “Geographic Specific

Data Requests,” and

       4.      Identify proposed search terms and custodians under the relevant case management

orders for Tracks 12–15 (Dkt. 5282 and Dkt. 5295).



SO ORDERED.

Date: March __, 2024
                                               The Honorable Dan A. Polster
                                               U.S. District Judge for the Northern District of Ohio
 Case: 1:17-md-02804-DAP Doc #: 5363 Filed: 03/18/24 3 of 6. PageID #: 633162




Submitted: March 18, 2024


Counsel for the Optum Defendants            Plaintiffs’ Co-Lead Counsel:

/s/ Brian Boone                 _           /s/ Paul Farrell               _
ALSTON & BIRD LLP                           Joe Rice
Brian D. Boone                              Linda Singer
ALSTON & BIRD LLP                           Motley Rice LLC
Bank of America Plaza, Suite 4000           28 Bridgeside Blvd.
101 S. Tryon St.                            Mount Pleasant, SC 29464
Charlotte, NC 28280                         jrice@motleyrice.com
Tel: (704) 444-1000                         lsinger@motleyrice.com
brian.boone@alston.com
                                            Paul Farrell, Jr.
William H. Jordan                           FARRELL & FULLER
ALSTON & BIRD LLP                           1311 Ponce de Leone Ave. Suite 202
1201 West Peachtree Street NW, Suite 4900   San Juan, PR 00907
Atlanta, GA 30309                           paul@farrellfuller.com
Tel.: (404) 881-7000
bill.jordan@alston.com                      Peter H. Weinberger
caroline.strumph@alston.com                 SPANGENBERG SHIBLEY & LIBER
                                            1001 Lakeside Avenue East, Suite 1700
Kimberly K. Chemerinsky                     Cleveland, OH 44114
ALSTON & BIRD LLP                           pweinberger@spanglaw.com
333 South Hope Street, 16th Floor
Los Angeles, CA 90071-1410                  Jayne Conroy
Tel: (213) 576-1000                         Laura Fitzpatrick
kim.chemerinsky@alston.com                  SIMMONS HANLY CONROY
ethan.bond@alston.com                       112 Madison Avenue, 7th Floor
                                            New York, NY 10016
                                            jconroy@simmonsfirm.com
                                            lfitzpatrick@simmonsfirm.com

                                            Counsel for the City of Rochester, NY:

                                            /s/ Hunter Shkolnik                _
                                            Hunter J. Shkolnik
                                            Paul J. Napoli
                                            NSPR Law Services LLC
                                            1302 Avenida Ponce de Leon
                                            Santurce, Puerto Rico 00907
                                            hunter@nsprlaw.com
                                            pnapoli@nsprlaw.com

                                            Salvatore C. Badala
                                            Shayna E. Sacks
                                            Joseph L. Ciaccio
Case: 1:17-md-02804-DAP Doc #: 5363 Filed: 03/18/24 4 of 6. PageID #: 633163




                                      Napoli Skholnik PLLC
                                      360 Lexington Avenue, 11th Floor
                                      New York, NY 10017
                                      sbadala@napolilaw.com
                                      ssacks@napolilaw.com
                                      jciaccio@napolilaw.com

                                      Counsel for Lincoln County, MO:

                                      /s/ Joanne Cicala          _       _
                                      Joanne Cicala
                                      Joshua Wackerly
                                      R. Johan Conrod
                                      Shelbi Flood
                                      The Cicala Law Firm PLLC
                                      101 College Street
                                      Dripping Springs, TX 78620
                                      joanne@cicalapllc.com
                                      josh@cicalapllc.com
                                      johan@cicalapllc.com
                                      shelbi@cicalapllc.com

                                      John F. Garvey
                                      Colleen Garvey
                                      Ellen A. Thomas
                                      Stranch, Jennings & Garvey, PLLC
                                      Peabody Plaza
                                      701 Market Street, Suite 1510
                                      St. Louis, MO 63101
                                      jgarvey@stranchlaw.com
                                      cgarvey@stranchlaw.com
                                      ethomas@stranchlaw.com

                                      Patrick A. Hamacher
                                      Mark R. Niemeyer
                                      NIEMEYER, GREBEL & KRUSE, LLC
                                      211 N. Broadway, Suite 2950
                                      St. Louis, MO 63102
                                      Tel: (314) 241-1919
                                      Fax: (314) 665-3017
                                      hamacher@ngklawfirm.com
                                      Niemeyer@ngklawfirm.com

                                      Counsel for City of Independence, MO:

                                      /s/ Joanne Cicala            _     _
                                      Joanne Cicala
                                      Joshua Wackerly
Case: 1:17-md-02804-DAP Doc #: 5363 Filed: 03/18/24 5 of 6. PageID #: 633164




                                      R. Johan Conrod
                                      Shelbi Flood
                                      The Cicala Law Firm PLLC
                                      101 College Street
                                      Dripping Springs, TX 78620
                                      joanne@cicalapllc.com
                                      josh@cicalapllc.com
                                      johan@cicalapllc.com
                                      shelbi@cicalapllc.com

                                      John F. Garvey
                                      Colleen Garvey
                                      Ellen A. Thomas
                                      Stranch, Jennings & Garvey, PLLC
                                      Peabody Plaza
                                      701 Market Street, Suite 1510
                                      St. Louis, MO 63101
                                      jgarvey@stranchlaw.com
                                      cgarvey@stranchlaw.com
                                      ethomas@stranchlaw.com

                                      Daniel A. Thomas
                                      HUMPHREY FARRINGTON MCCLAIN
                                      221 W. Lexington Ave. Ste 400
                                      Independence, MO 64050
                                      Tel: (816) 836-5050
                                      DAT@hfmlegal.com

                                      Counsel for County of Webb, TX:

                                      /s/ Joanne Cicala          _      _
                                      Joanne Cicala
                                      Joshua Wackerly
                                      R. Johan Conrod
                                      Shelbi Flood
                                      The Cicala Law Firm PLLC
                                      101 College Street
                                      Dripping Springs, TX 78620
                                      joanne@cicalapllc.com
                                      josh@cicalapllc.com
                                      johan@cicalapllc.com
                                      shelbi@cicalapllc.com

                                      Kevin Sharp
                                      Christine Dunn
                                      SANFORD HEISLER SHARP, LLP
                                      611 Commerce Street, Suite 3100
                                      Nashville, Tennessee 37203
Case: 1:17-md-02804-DAP Doc #: 5363 Filed: 03/18/24 6 of 6. PageID #: 633165




                                      Tel: (615) 434-7000
                                      Fax: (615) 434-7020
                                      ksharp@sanfordheisler.com
                                      cdunn@sanfordheisler.com
